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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

ESTATE OF LOREN SIMPSON et                 Cause No.: CV 15-0099-SPW
al,

                    Plaintiff,

      vs.
                                                PLAINTIFFS’ STATEMENT
YELLOWSTONE COUNTY et al,                         OF DISPUTED FACTS

                    Defendants.


      Plaintiffs Estate of Loren Benjamin Simpson (the Estate), Brenda Davis,

Wanda Simpson, Kylie Smith and Nathan Lonsbery submit the following

Statement of Disputed Facts in compliance with Local Rule 56.1(b).




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       Verbatim Response to Plaintiff’s Statement of Undisputed Facts:

1.    On January 8, 2015, at approximately 4:20 p.m., Robinson and Rudolph,

      both Deputy Yellowstone County Sheriffs, were on duty together with the

      Sheriff’s Office in the same vehicle. Rudolph Affidavit, p. 1; Robinson

      Affidavit, p. 1.

      Undisputed.

2.    They were on the day shift. Rudolph Affidavit, p. 2; Robinson Affidavit,

      p. 2.

      Undisputed.

3.    They were both in uniform in a marked patrol vehicle. They were easily

      identifiable as law enforcement officers both by their uniforms and vehicle.

      Rudolph Affidavit, p. 2; Robinson Affidavit, p. 2.

      Disputed. The Defendants have submitted no evidence to demonstrate that

Simpson was aware he was being followed by law enforcement officers. Simpson

does not attempt to elude Robinson or Rudolph. At no time did the officers engage

the lights or sirens on their vehicle to give Simpson notice of their intent to initiate

a traffic stop until AFTER they had shot Simpson. Simpson Video, Pt. 2 16:19:42

– 16:40:03.




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4.    They saw a vehicle that matched the description of a stolen vehicle. Simpson

      Video, Pt. 2 16:19:42.

      Disputed.     Robinson and Rudolph were not sure the vehicle they were

following was the same vehicle that had been reported stolen. While following the

vehicle, Robinson tells his supervising officer Ketch, with whom he is speaking by

cell phone, “No I can’t see shit. I’m not even 100% sure it’s the car…” Simpson

Video, Pt. 2 16:23:30 – 16:23:40.

5.    They began to follow the vehicle. Simpson Video, Pt. 2 16:19:43.

      Disputed as to the implication that they were following the vehicle in an

attempt to initiate a traffic stop, or that Simpson was aware he was being followed

by law enforcement. For much of the time Robinson and Rudolph were following

Simpson, there were other vehicles between them and Simpson. Even after the

other vehicles turned off the road, Robinson and Rudolph did not close the

distance on Simpson’s vehicle, and did not turn on their lights or sirens. Simpson

Video, Pt. 2 16:19:43 – 16:24:57.

6.    Before they could stop the vehicle, their vehicle became stuck in the snow

      on the road. They extricated their vehicle from the snow. Simpson Video, Pt.

      2 16:23:20.

      Disputed as to the implication that Robinson and Rudolph were attempting

to initiate a traffic stop or otherwise attempting to stop Simpson’s vehicle.


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Robinson and Rudolph followed Simpson at a distance, without turning on their

lights or sirens, and instead of initiating a traffic stop, they discussed when and

how they would retrieve their AR-15 and their 12 gauge shotgun. Simpson Video,

Pt. 2 16:19:43 – 16:24:57.

7.    They had been advised by a person that helped them extricate their vehicle

      that the road they were on was the only way to exit the area. Rudolph

      Affidavit, p. 3; Robinson Affidavit, p. 3.

      Undisputed.

8.    They waited for the vehicle to return. They parked their vehicle in the road.

      Simpson Video, Pt. 3 16:33:03.

      Disputed. Robinson and Rudolph did not “park their vehicle in the road.”

After learning that the road was a dead end and that Simpson would have to drive

back down the road towards them, Robinson and Rudolph moved their vehicle into

the middle of a one-lane rural road so as to form a roadblock. Compare Simpson

Video, Pt. 2 16:22:44 with Simpson Video, Pt. 3, 16:31:39. See also Ernie Burwell

Expert Report, page 3, submitted as Exhibit 1:

      After the patrol car was pulled out of the snow bank by some
      teenagers, Deputy Rudolph positioned the car where no other vehicles
      could pass. The patrol car was blocking the roadway where no other
      vehicles would be able to pass.

      Mr. Burwell also submitted screenshots with his Expert Report showing the

view from the forward-facing camera on the patrol car.              These screen shots

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demonstrate that the patrol car has been moved from the left side of the roadway—

which would allow other vehicles to drive past—to the center of the roadway—

which would not allow other vehicles to drive past. Burwell Expert Report, page 4.

(See Exhibit 1).

      When Robinson was questioned by Detective Fritz as to why they didn’t just

drive back down to Pryor Creek Road and wait for the vehicle to come down the

road so they could initiate a traffic stop, Robinson admitted the reason was

“[w]e’ve got him bottled up…there’s nowhere else to go. He’s gonna have to

come to us.”       Yellowstone County Doc. 216 (See select Yellowstone County

Documents submitted as Exhibit 2).

9.    To prepare for the vehicle’s return, they armed themselves with their long

      guns, a shotgun and a military style semi-automatic rifle. Simpson Video, Pt.

      3 16:35:54.

      Disputed as to the implication that there was any need or justification for

retrieving the AR-15 and the 12 gauge shotgun. Robinson and Rudolph had no

contact with Simpson prior to the time they shot him, and thus they had no reason

to believe he was armed, that he posed any danger to them, or that he posed any

risk of flight. Simpson Video, Pt. 2 entire video; Simpson Video Pt. 3, 16:31:39 –

16:38:15. The Defendants have admitted in discovery that “prior to the shooting

of Loren Simpson, neither Deputy Robinson nor Deputy Rudolph had any


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knowledge that Loren Simpson was carrying or armed with a weapon.”

Yellowstone County’s Discovery Responses submitted herewith as Exhibit 3,

Request for Admission No. 3.

10.   The vehicle approached them. Simpson Video, Pt. 16:37:59.

      Undisputed.

11.   They exited their vehicle with their weapons at the ready. Simpson Video,

      Pt. 3 16:38:12.    They repeatedly ordered the vehicle to stop with their

      weapons pointed in the direction of the vehicle. Simpson Video, Pt. 3

      16:38:15.

      Disputed as to the implication that Simpson could hear the oral statements

made by Robinson and Rudolph. The windows on the vehicle were rolled up

because of the cold and snowy conditions, and there is no evidence that Simpson

could hear Robinson or Rudolph’s instructions. Simpson Video, Pt. 3 16:38:14 –

16:38:18. In addition, because Robinson and Rudolph failed to activate their

overhead lights, there is no evidence that Simpson was even aware that Robinson

and Rudolph were law enforcement officers.        Robinson and Rudolph violated

Yellowstone County Sheriff’s Office Policy 3-3(III)(D) which provides that “upon

initiating a pursuit, deputies will immediately activate emergency lights, headlights

and sirens.” Yellowstone County Doc. 1075-1077. (See Exhibit 2).




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12.   The vehicle did not immediately attempt to stop. Simpson Video, Pt. 3

      16:38:15.

      Undisputed.

13.   The vehicle began to veer in the direction of Robinson. Simpson Video, Pt. 3

      16:38:16-18.

      Disputed. The video clearly depicts Simpson attempting to avoid crashing

into Robinson and Rudolph. Simpson Video, Pt. 3 16:38:14 -16:38:18. Former

Deputy Robinson, former Deputy Rudolph, Detective Bancroft and Detective Fritz

all agree that the video shows Simpson attempting to avoid hitting Robinson and

Rudolph.

      When Robinson was interviewed by Detectives Bancroft and Fritz and he

shown the video of the shooting, Robinson stated during his interview as follows:

      And when I first saw the video it shocked me because I didn’t—when
      I’m watching the video it looks like he’s trying to drive past me.

Yellowstone County Doc. 195. (See Exhibit 2).

      Later during this same interview, Detective Bancroft and Robinson had the

following exchange:

      Bancroft: Ok. Hang on Fritzy before you forward it. So we’re clear
      would you agree when we look at the video from this two dimensional
      angle it looks like it’s going away from you instead of in front of you?

      Robinson: At this point yeah it does.

Yellowstone County Doc. 206. (See Exhibit 2).

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      Likewise, when Detectives Fritz and Bancroft interviewed Rudolph and

showed him the video, Detective Bancroft and Rudolph had the following

exchange:

      Bancroft: Would you unintelligible (probably “agree that in”) this
      video the vehicle appears to be going around Deputy Robinson not at
      him at this point?

      Rudolph: At this point yes, uhm …

                                    ***
      Bancroft: And when he was—when you see the video now it appears
      he was going around Deputy Robinson not at him at that time exactly?

      Rudolph: Yeah it looks like he could have been going around us.

Yellowstone County Doc. 274-275. (See Exhibit 2).

      Detective Fritz’s report of his investigation contains the following findings

with regard to the video of the shooting:

      It appeared Deputy Robinson fired his patrol rifle first and was off set
      at an approximate thirty to forty degree angle to the vehicle. It should
      be noted this was a visual approximation only. Without any point of
      reference from Deputy Robinson to the vehicle Detective Fritz was
      unable to give an exact angle.

Yellowstone County Doc. 69. (See Exhibit 2).

      Expert Witness Ernie Burwell has also reviewed the video and has submitted

the following statement in his Expert Report:

      Deputy Robinson and Deputy Rudolph used excessive, unreasonable
      and unnecessary force when they shot and killed Loren Simpson.
      Simpson was not a threat to the deputies. Simpson did not try to run

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      over the deputies as they describe. In fact, Simpson tried to avoid
      hitting the deputies by running the vehicle into a snow bank.

Ernie Burwell Expert Report, page 5. (See Exhibit 1).

Robinson believed that the driver of the vehicle intended to strike him with

the vehicle. Simpson Video, Pt. 3 16:38:19.

      Disputed. As set forth in paragraph 13 above, no reasonable person in

Robinson’s position would have believed that Simpson intended to strike Robinson

with the vehicle. Robinson admits that the video shows the vehicle was not

attempting to strike him, but rather to go around him. Yellowstone County Doc.

195. (See Exhibit 2). Detective Bancroft states that the video shows the vehicle

going away from Robinson rather than at him. Yellowstone County Doc. 206.

Rudolph admits that the video shows the vehicle was attempting to go around

Robinson. Yellowstone County Doc. 274-275. (See Exhibit 2). Detective Fritz

states that the video depicts Robinson firing from a 30 to 40 degree angle, rather

than directly into the front of the vehicle. This demonstrates that the vehicle was

not on a collision path with Robinson. Yellowstone County Doc. 69. (See Exhibit

2). Finally, Expert Witness Ernie Burwell has reviewed the video and has opined

that the vehicle was attempting to avoid hitting Robinson by driving into the snow

bank on the side of the road. Ernie Burwell Expert Report, page 5. (See Exhibit

1).



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14.    Because Robinson believed that driver intended to strike him with the

       vehicle he believed that he was in threat of death or seriously bodily injury

       from the driver. He began to fire his military style semi-automatic rifle at the

       vehicle to protect himself. Simpson Video, Pt. 3 16:38:20-21.

       Disputed.    As set forth in paragraphs 13 and 14 above (which are

incorporated herein by reference), no reasonable person in Robinson’s position

could have believed that the vehicle posed a threat of death or serious bodily

injury to Robinson. The video is clear and there is no question that the vehicle was

not going to strike Robinson.

15.    Rudolph believed that the driver of the vehicle intended to strike Robinson

       with the vehicle. Simpson Video, Pt. 3 16:38:19.

       Disputed.    As set forth in paragraphs 13 and 14 above (which are

incorporated herein by reference), no reasonable person in Rudolph’s position

would have believed that the vehicle was a danger to Robinson. Rudolph has

admitted that the video shows that the vehicle was not attempting to strike

Robinson, but rather attempting to avoid hitting him.

16.    Because Rudolph believed that the driver intended to strike Robinson with

       the vehicle, he believed that Robinson was in threat of death or seriously

       bodily injury from the driver. He began to fire his shotgun at the vehicle to

       protect Robinson. Simpson Video, Pt. 3 16:38:21.


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       Disputed. As set forth above (and incorporated herein by reference), no

reasonable person would have believed Robinson was in danger of death or

serious bodily injury from the vehicle, because it is undisputed that the vehicle was

attempting to avoid hitting Robinson.

17.    Within seconds, Robinson and Rudolph fired numerous shots into the

       vehicle. Simpson Video, Pt. 3 16:38:22-25.

       Undisputed.

18.    The vehicle swerved into a snow bank on the side of the road. The engine of

       the vehicle revving. Simpson Video, Pt. 3 16:38:25.

       Disputed as to the implication that the vehicle started to swerve towards the

snow bank after Robinson and Rudolph fired on it. The video clearly shows that

the vehicle turned away from Robinson and Rudolph prior to Robinson’s first shot.

Simpson Video, Pt. 3 16:38:15 – 16:38:16. After Robinson and Rudolph began

firing at the vehicle, the front of the vehicle followed a straight path into the

ditch/snowbank on the side of the road.        Simpson Video, Pt. 3 16:38:16 –

16:38:18.

19.    Robinson and Rudolph waited a few seconds to make sure the vehicle did

       not back up before they approached the vehicle and turned off the vehicle.

       Simpson Video, Pt. 3 16:38:26-16:39:37.




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       Disputed. There is no indication that the vehicle ever attempted to back up.

Detective Fritz asked Robinson if the vehicle’s reverse lights ever came on, and

Robinson answered as follows:

       Fritz: Did you ever see the reverse lights come on?

       Robinson: No.

       Fritz: So the wheels were spinning forward?

       Robinson: Yeah.

Yellowstone County Doc. 203. (See Exhibit 2).

       Detectives Bancroft and Fritz later verified that the reverse lights on the

vehicle were operational.

Yellowstone County Doc. 48. (See Exhibit 2).

20.    There was one person in the vehicle, later identified as Loren Simpson, who

       had been shot several times and appeared dead. Rudolph Affidavit, p. 4;

       Robinson Affidavit, p. 4.

       Undisputed.

21.    They requested medical assistance. Simpson Video, Pt. 3 16:38:51. Medical

       assistance arrived at the scene and pronounced Simpson dead. Rudolph

       Affidavit, p. 4; Robinson Affidavit, p. 4.

       Undisputed.




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22.    Robinson and Rudolph’s vehicle had an audio video camera.              Simpson

       Video, Pt. 3 16:37:59-16:39:37. The camera recorded their encounter with

       Simpson. Simpson Video, Pt. 3 16:33:00. Robinson and Rudolph have

       watched the recording. It is an accurate account of what occurred. Rudolph

       Affidavit, p. 4; Robinson Affidavit, p. 4.

       Undisputed.

23.    The County has agreed to defend and indemnify Robinson and Rudolph.

       When they shot and killed Simpson, they were acting within the course and

       scope of their employment with the County. Gillen’s Affidavit, p. 2.

       Undisputed.

                Plaintiffs’ Additional Facts in Opposition to
        Defendants’ Motion and in Support of Plaintiffs’ Cross-Motion:

25.    On January 8, 2015, Robinson and Rudolph were investigating a report of a

       vehicle that had been stolen from a used car dealership in Billings, Montana.

       Yellowstone County Doc. 78. (See Exhibit 2).

26.    The owner of the used car lot advised Robinson and Rudolph that the stolen

       vehicle was worth about $1,000.00. Yellowstone County Doc. 78. (See

       Exhibit 2).

27.    This amount is less than the $1,500.00 threshold for felony offenses under

       Mont. Code Ann. § 45-6-301(8)(a), and as a result, Robinson and Rudolph



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       were aware they were investigating a misdemeanor theft rather than a felony

       offense. Yellowstone County Doc. 78. (See Exhibit 2).

28.    Later that day, Robinson and Rudolph were dispatched to a burglary call on

       Justice Trail in Huntley, Montana. The burglary was not a “hot burglary”

       meaning that the homeowner believed the burglar was still in the home, but

       rather a “cold burglary” meaning the homeowner had arrived home and

       found her house open and items missing, but no burglar was in the house.

       Yellowstone County Doc. 232-233. (See Exhibit 2).

29.    As a result, the Defendants were aware that there was no ongoing felony

       offense being committed at the Justice Trail burglary location. Yellowstone

       County Doc. 85, paragraph 3. (See Exhibit 2).

30.    The burglary turns out to have not been a burglary at all, but rather a

       domestic dispute involving a man taking disputed items from his estranged

       wife’s home. Yellowstone County Doc. 85-86. (See Exhibit 2).

31.    While on the way to the unrelated cold burglary call, Robinson and Rudolph

       observed a vehicle that they suspected might be the stolen vehicle they had

       been investigating earlier in the day. Yellowstone County Doc. 163-164.

       (See Exhibit 2).




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32.    Robinson and Rudolph followed the vehicle and “watch[ed] it from a

       distance” without turning on their lights or siren. Yellowstone County Doc.

       164. (See Exhibit 2).

33.    Robinson and Rudolph activated the dashboard camera on their patrol

       vehicle as they were following the vehicle. Within the first minute after they

       began to follow the vehicle--without having observed any illegal or even

       suspicious   conduct—Robinson       and    Rudolph    have     the   following

       conversation:

             Rudolph:     Do you want your shotgun or your AR?

             Robinson:    I’ll get my AR when I can.

       Simpson Video, Pt. 2 16:20:50 – 16:20:54.

34.    There is no explanation offered as to why Robinson and Rudolph were

       discussing deploying an AR-15 patrol rifle or a 12 gauge shotgun as part of a

       misdemeanor stolen vehicle investigation. Simpson Video, Pt. 2 16:20:50 –

       16:20:54.

35.    While following the suspected stolen vehicle, Robinson and Rudolph never

       engaged their overhead lights, turned on their siren, or gave any other

       indication to the driver of the vehicle that they wanted him to pull over.

       Simpson Video, Pt. 2 16:20:50 – 16:24:57.




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36.    As Robinson and Rudolph continued to follow the suspect vehicle up White

       Buffalo Road, their vehicle begins to lose traction in the snow. When

       Robinson and Rudolph were unable to go any further, they stopped and

       backed a short distance down the road, eventually becoming stuck in the

       snow. After Rudolph gets the vehicle stuck, Robinson says “I really want to

       go hiking up there” and Rudolph asks if they can commandeer a four-wheel

       drive vehicle. Simpson Video, Pt. 2 16:24:00—16:24:57.

37.    Robinson and Rudolph appear highly emotional during this portion of their

       investigation.   On this portion of Robinson’s third dash camera video,

       Robinson can be heard telling Rudolph:

       That’s what these little fuckers do. They go steal cars, just like I said, they
       go steal cars, and then they go break into shit, and throw their stolen shit in
       those cars. Now they’re in the middle of fuckin’ nowhere.

Simpson Video, Pt. 2 16:33:35 – 16:33:40.

38.    While being interviewed by Detectives Fritz and Bancroft after the shooting,

       Robinson stated:

             I became a cop for one reason and that’s to catch bad guys.
             This is somebody in a stolen car. That’s, that’s a bad guy, ok?
             And I wanted to catch him. I was excited to catch him. That’s
             what I wanted to do. And so we were kind of nervous waiting
             to see what was gonna happen and thought “Oh cool, we’re
             gonna—we’re gonna take down a car thief today.”

Yellowstone County Doc. 191-192. (See Exhibit 2).



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39.    While Robinson and Rudolph were stuck, another vehicle being driven by a

       local teenager and his friends who were returning home from school pulled

       up behind Robinson and Rudolph, and the teenagers helped free the vehicle

       from the snow. Yellowstone County Doc. 142, 4th paragraph. (See Exhibit

       2).

40.    While this was taking place, Robinson asked if the youths lived in the area.

       When the youths indicated that they lived further up White Buffalo Road,

       Robinson asked if there was any other way to drive out of the area, or if the

       vehicle would have to come back down the same way he went in. The

       youths informed Robinson that there was no other way out. Robinson then

       obtained the teenager’s cell phone number and then sent the teenager up the

       road, asking them to keep a look out for the suspected stolen vehicle.

       Yellowstone County Doc. 142, 5th paragraph. (See Exhibit 2).

41.    Robinson and Rudolph then positioned their vehicle as a roadblock in the

       middle of the single lane snow-covered road, and began to prepare their AR-

       15 and 12 gauge shotgun. Yellowstone County Doc. 142, 6th paragraph

       (See Exhibit 2); Simpson Video Pt. 3, 16:31:39 – 16:33:00.

42.    Rudolph can be heard on the video of the incident stating “I sent [Deputy]

       Leonhardt a message, and [Deputy] Ketch a message: Only one way in.”

       Simpson Video Pt. 3, 16:32:48 – 16:32:52.


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43.    After a few minutes had passed, Robinson called the cell phone number for

       the teenager, and the teenager reported that the vehicle was coming back

       down the road towards Robinson and Rudolph’s position. Simpson Video,

       Pt. 3, 16:34:49 – 16:35:18.

44.    Rudolph can be heard asking Robinson how to remove the 12 gauge shotgun

       from its mount in the vehicle, and then he can be heard loading three rifled

       slugs into the magazine in place of the 00 buckshot that had been left in the

       12 gauge shotgun. Robinson retrieves his AR-15 rifle from the trunk of the

       vehicle and he can be heard checking the magazine and loading a round into

       the chamber. Simpson Video, Pt. 3, 16:35:20 – 16:36:42.

45.    During the 12 minute span of time from when the teenagers arrived to help

       free the officers from the snow drift at the end of the first video clip

       (Simpson Video, Pt. 2 16:24:57) until Robinson and Rudolph prepare the

       AR-15 and the 12 gauge shotgun (Simpson Video, Pt. 3 16:36:42), there is

       no discussion whatsoever of any less-lethal way to initiate a traffic stop of

       the suspected stolen vehicle.

46.    Robinson stated that the reason he didn’t want to drive back down to Pryor

       Creek Lane because “we’ve got him bottled up” and “there’s nowhere else

       to go. He’s gonna have to come to us.” Yellowstone County Doc. 216.

       (See Exhibit 2).


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47.    At around 4:40 p.m., the vehicle being driven by Loren Simpson returned

       back down White Buffalo Road near the intersection with Shooter’s Bluff

       Trail. The vehicle was moving at a normal rate of speed for the conditions,

       and was not breaking any laws. Simpson Video, Pt. 3 16:37:54.

48.    At this time, Robinson and Rudolph did not know who was driving the

       vehicle, how the driver came to be in possession of the vehicle, or even if it

       was the same vehicle that had been reported stolen earlier that day. Simpson

       Video, Pt. 2 16:23:35 – 16:23:35.

49.    Despite having no basis to believe the driver of the vehicle had committed

       any crime other than misdemeanor possession of a stolen vehicle, Robinson

       and Rudolph left their vehicle positioned in the road as a roadblock and

       advanced towards the oncoming vehicle on foot with their AR-15 and 12

       gauge shotgun deployed in ready positions. Simpson Video, Pt. 3 16:38:08.

50.    Robinson and Rudolph did not activate their overhead lights or siren.

       Simpson Video, Pt. 3 16:38:08.

51.    As the vehicle approaches the officers, it can be seen slowing down and

       hesitating before turning off the roadway to the right of Robinson and

       Rudolph. As the vehicle moves to Robinson’s right, Robinson can be seen

       moving further to his right, attempting to put himself in the path of the




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       vehicle as it attempts to avoid hitting him. Simpson Video, Pt. 3 16:38:11 –

       16:38:16.

52.    As the vehicle continues off the road and away from Robinson and Rudolph,

       Robinson begins firing his AR-15 into the front of the vehicle at an angle of

       30 to 40 degrees, and continuing to fire into the side of the vehicle as it goes

       past his position. Simpson Video, Pt. 3 16:38:15 – 16:38:20.

53.    After Robinson begins firing, Rudolph commences firing his 12 gauge

       shotgun into the vehicle, with his first round striking the windshield at an

       angle, and his second and third rounds entering the passenger side of the

       vehicle as the vehicle goes past his position. Simpson Video, Pt. 3 16:38:15

       – 16:38:20.

54.    As the vehicle passed by Robinson, Rudolph had to stop firing and

       reposition himself Robinson was directly in Rudolph’s line of fire towards

       the vehicle. Rudolph can be seen lowering his 12 gauge, stepping to the

       side, and then re-deploying his 12 gauge from a different position. Simpson

       Video, Pt. 3 16:38:18 – 16:38:20.

55.    After Simpson’s vehicle has come to rest facing perpendicular to White

       Buffalo Road, both Robinson and Rudolph continue firing into the back of

       the stopped vehicle. Robinson fired 5 or 6 shots into the back of the stopped

       vehicle--including the fatal shot which struck Simpson in the back of the


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       head—and Rudolph fired three shotgun rounds into the back of the stopped

       vehicle. Simpson Video, Pt. 3 16:38:18 – 16:38:21.

56.    Simpson was struck multiple times in the side of his body as he drove to the

       side of the officers, including a 12 gauge slug that entered his right shoulder,

       passed between his scapula and chest wall, through three of his ribs, and

       ultimately lodged under the skin by his left shoulder, and a .223 round from

       the AR-15 which penetrated his right side below his 8th rib and passed into

       his liver. Yellowstone County Doc. 354 – 355. (See Exhibit 2).

57.    After his vehicle came to rest in the ditch, Simpson was struck at least one

       additional time in the back of the head which would have been immediately

       incapacitating and ultimately fatal. Yellowstone County Doc. 354 – 355.

       (See Exhibit 2).

58.    Within minutes of the shooting, Deputy Leonhardt arrived at the scene, and

       his dashboard camera captures the location of Robinson and Rudolph’s

       vehicle positioned as a roadblock, and the location where the vehicle

       Simpson was driving came to rest after he attempted to avoid hitting the

       officers. Leonhardt Video, 16:42:05 – 16:42:20. (See Certificate of Service

       of Leonhardt Video and Leonhardt Video submitted as Exhibit 4).

59.    Deputy Leohhardt’s dashboard video also demonstrates that there were

       multiple plowed driveways that Robinson and Rudolph could have used to


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       turn their vehicle around, park off the roadway, wait for the suspected stolen

       vehicle to drive by, and then initiate an investigatory stop using their lights

       and sirens to notify the driver to stop and pull over. Leonhardt Video,

       16:41:40 – 16:42:15. (See Exhibit 4).

60.    Immediately following the shooting, Robinson and Rudolph began to

       fabricate the cover-up for the shooting death of Loren Simpson. Rudolph

       repeatedly states that Simpson “gave it the goose” (which he explained to

       Detectives Fritz and Bancroft meant that Simpson spun his tires while

       accelerating towards the officers). Simpson Video, Pt. 3 16:42:40; 16:56:10;

       17:08:52.

61.    Robinson repeatedly states that Simpson “hit the gas and came right at us”

       (Simpson Video, Pt. 3 16:42:48), “came at me” (Simpson Video, Pt. 3

       16:55:07), “the fucker came at me” (Simpson Video, Pt. 3 16:56:01), “the

       car came at me” (Simpson Video, Pt. 3 16:56:14), “he steps on the gas and

       his car comes straight…comes from here and starts coming my way.”

       (Simpson Video, Pt. 3 17:00:05 – 17:00:35).

62.    Robinson goes so far as to say “I don’t know how he didn’t hit our car.”

       Simpson Video, Pt. 3 17:00:41 – 17:00:43.

63.    Robinson and Rudolph—apparently unaware that the dash camera is still

       recording--then rehearse their story with Robinson saying “at the range we


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       were at, with him coming at us with the car, he probably would have

       smashed right into us if we wouldn’t have taken him when we did.”

       Simpson Video, Pt. 3 17:06:19 – 17:06:27.

64.    Rudolph responds “Yeah, we’d have been lucky if (unintelligible) he

       wouldn’t have killed anyone.” Simpson Video, Pt. 3 17:06:26 – 17:06:31.

65.    Robinson and Rudolph persisted with these claims during the initial round of

       the interviews with Detectives Fritz and Bancroft, before Robinson and

       Rudolph were forced to watch the video. Robinson states that he “saw those

       wheels spin and the front end of the car start to swerve towards me.”

       Yellowstone County Doc. 148. (See Exhibit 2).

66.    Robinson also falsely claimed “once the car came to a stop there were no

       more rounds fired.” Yellowstone County Doc. 150. (See Exhibit 2).

67.    Robinson continued to make false statements regarding the events that

       preceded the shooting, stating “I saw the wheels spin and I saw the front end

       of the car come for me and I knew that if I didn’t stop him he was gonna kill

       me.” Yellowstone County Doc. 151. (See Exhibit 2).

68.    Rudolph also repeated his false claim that he “saw the tires kick up dirt and

       gravel and snow. He kind of fishtailed a little bit and started coming right to

       us.” Yellowstone County Doc. 222. (See Exhibit 2).




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69.    Rudolph even claimed that the vehicle was “floored” as it was coming

       towards them. Yellowstone County Doc. 224. (See Exhibit 2).

70.    After reviewing the video with Detectives Bancroft and Fritz, both Robinson

       and Rudolph were forced to acknowledge that their initial statements about

       the circumstances of the shooting were false. Robinson admitted “when I

       first saw the video it shocked me because I didn’t—when I’m watching the

       video it looks like he’s trying to drive past me.” Yellowstone County Doc.

       195. (See Exhibit 2).

71.    Robinson further admitted “when I saw that video that didn’t match my

       memory.” Yellowstone County Doc. 195. (See Exhibit 2).

72.    Robinson was likewise forced to acknowledge that the video does not show

       the vehicles tires spinning out, and that the vehicle is going away from him

       rather than towards him. Yellowstone County Doc. 204-206. (See Exhibit

       2).

73.    When Detectives Bancroft and Fritz showed the video of the shooting to

       Rudolph, he could not identify anywhere on the video where the vehicle

       “gave it the goose”, or where the tires kicked up mud and gravel.

       Yellowstone County Doc. 270-274. (See Exhibit 2).




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74.    Rudolph also acknowledges that the video depicts the vehicle attempting to

       avoid hitting Robinson rather than attempting to hit Robinson. Yellowstone

       County Doc. 274. (See Exhibit 2).

75.    Detective Fritz’s viewed the video numerous times and questioned Robinson

       and Rudolph regarding all aspects of the shooting, and he was “unable to

       find any evidence of the suspect’s, Simpson, vehicle had spun his tires and

       accelerated at the deputies.” Yellowstone County Doc. 55. (See Exhibit 2).

76.    Detective Fritz further stated “[i]t should be noted over the course of several

       days of viewing the video it did not appear to Detective Fritz that the

       suspect’s vehicle increased its speed as it approach (sic) the deputies.”

       Yellowstone County Doc. 69. (See Exhibit 2).

77.    Robinson and Rudolph’s conduct violated six distinct sections of the

       Yellowstone County Sheriff’s Office Policy Manual. First, YCSO Policy 3-

       2(I)(C) governs the use of AR-15 Patrol Rifles, and in subpart (7) the Policy

       provides examples of when an AR-15 Patrol Rifle should be used, such as:

          a. Felony stops

          b. Armed barricaded suspect(s), inner perimeter use

          c. Area searches for armed suspect(s),

          d. Patrol rifles should not be deployed for routine circumstances not
             involving weapons.

          e. Dispatching injured wildlife

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       Yellowstone County Doc. 1069. (See Exhibit 2). Because this incident was

       a routine investigatory stop of a suspected misdemeanor theft, the AR-15

       Patrol Rifle should never have been deployed.

78.    Second, YCSO Policy 3-1(VI)(E)(1) provides that “deputies shall not draw

       or exhibit their firearm unless circumstances create reasonable cause to

       believe that it may be necessary to use the weapon in conformance with this

       policy.” Yellowstone County Doc. 1064. (See Exhibit 2). There was no

       reason for Robinson and Rudolph to deploy their weapons before the suspect

       vehicle had even come back into view.

79.    Third, YCSO Policy 3-3(VII) governs the use of Roadblocks. Roadblocks

       are characterized as “a force likely to cause death” and should not be used

       until “after other reasonable alternatives have been exhausted.” They are

       only to be used in life and death situations or situations where deadly force

       would be authorized, unless the Sheriff or Undersheriff gives specific

       authorization. YCSO Policy 3-3(III)(F) also prohibits officers from “boxing

       in” or “heading off” a suspect’s vehicle. Yellowstone County Doc. 1077-

       1079. (See Exhibit 2). Robinson and Rudolph positioned their vehicle as a

       roadblock in the middle of White Buffalo Road in violation of YCSO Policy

       3-3(III)(F) and 3-3(VII).




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80.    Fourth, YCSO Policy 3-3 governs Vehicular Pursuit and apprehension of

       fleeing violators. Section 3-3(III)(D) of the Policy provides that “upon

       initiating a pursuit, deputies will immediately activate emergency lights,

       headlights and sirens.” Yellowstone County Doc. 1077. (See Exhibit 2).

       Robinson and Rudolph never activated the lights or siren of their patrol

       vehicle while they were following the suspect vehicle, or when the suspect

       vehicle was driving back down the road towards them, in violation of

       Section 3-3(III)(D).

81.    Fifth, YCSO Policy 3-1(VI) governs the use of Deadly Force. Deadly Force

       is authorized only when the officer reasonably believes that such force is

       necessary to prevent imminent death or serious bodily harm to the deputy or

       another, or to prevent the commission of a forcible felony. Yellowstone

       County Doc. 1064. (See Exhibit 2). Robinson and Rudolph’s use of deadly

       force was done in violation of YCSO Policy 3-1(VI) because no reasonable

       officer in their position could have believed Simpson was attempting to

       strike them with his vehicle.

82.    Sixth, YCSO Policy 3-1(I) governing the use of force provides that “[a]s the

       situation that necessitated the use of force diminishes, so too shall the use of

       force.”   Yellowstone County Doc. 1059. (See Exhibit 2). Robinson and

       Rudolph violated this Policy by continuing to fire into the back of the


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       vehicle after it had come to rest in the ditch and could no longer pose any

       threat to them.

83.    Following Detective Fritz and Bancroft’s investigation of Robinson and

       Rudolph’s conduct on January 8, 2015, the Yellowstone County Sheriff’s

       Office informed Robinson and Rudolph that the County “would be initiating

       disciplinary proceedings, up to and including termination of employment.”

       Defendants’ Response to Request for Admission No. 1, November 25, 2015.

       (See Exhibit 3).

84.    The grounds for informing Robinson and Rudolph that they would be

       disciplined up to and including termination of employment were the “lack of

       meaningful discussion in the patrol vehicle between the officers concerning

       options available and tactics employed.”        Defendants’ Supplemental

       Response to Interrogatory No. 5, March 23, 2016 submitted as Exhibit 5.

85.    Rather than being disciplined up to and including termination of their

       employment, both Robinson and Rudolph resigned from the Yellowstone

       County Sheriff’s Office. Defendants’ Response to Request for Admission

       No. 1, November 25, 2015. (See Exhibit 3).

86.    Expert Witness Ernie Burwell has submitted a report outlining his

       conclusions regarding Robinson’s and Rudolph’s violations of YCSO




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      Policies and whether their use of deadly force was reasonable and justified.

      His opinions are found in the Expert Report submitted as Exhibit 1.

            DATED October 3, 2016.

                                DATSOPOULOS, MacDONALD & LIND, P.C.



                                By: /s/ Nathan G. Wagner
                                       Nathan G. Wagner
                                       Attorneys for Plaintiff



                      CERTIFICATE OF COMPLIANCE

      I certify under Local Rule 7.1(d)(2)(E) that this brief is double-spaced, has a

proportionally-spaced typeface of 14 points, and contains 5,739 words of text.

                                DATSOPOULOS, MacDONALD & LIND, P.C.


                                By: /s/ Nathan G. Wagner
                                     Nathan G. Wagner
                                     Attorney for Plaintiffs




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                         CERTIFICATE OF SERVICE

       I, Nathan G. Wagner, one of the attorneys for the law firm of Datsopoulos,
MacDonald & Lind, P.C., hereby certify that on October 3, 2016, I served a true
and correct copy of the foregoing document, postage prepaid, to the following by
the following means:

[ ] U.S. Mail                              Mark A. English
[ ] FedEx                                  Kevin Gillen
[ ] Hand-Delivery                          Deputy Yellowstone County Attorneys
[ ] Facsimile                              Yellowstone County Courthouse,
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